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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,          )
ex rel. ERIC S. SCHMITT, in his official
                                )
capacity as Missouri Attorney General,
                                )
                                )
      Plaintiff,                )
                                )
v.                              )
                                )
THE PEOPLE’S REPUBLIC OF CHINA, )
THE COMMUNIST PARTY OF CHINA, )                       Case No.: 1:20-cv-00099-SNLJ
NATIONAL HEALTH COMMISSION      )
OF THE PEOPLE’S REPUBLIC OF     )
CHINA, MINISTRY OF EMERGENCY    )
MANAGEMENT OF THE PEOPLE’S      )
REPUBLIC OF CHINA, MINISTER OF )
CIVIL AFFAIRS OF THE PEOPLE’S   )
REPUBLIC OF CHINA, PEOPLE’S     )
GOVERNMENT OF HUBEI             )
PROVINCE, PEOPLE’S GOVERNMENT )
OF WUHAN CITY, WUHAN INSTITUTE )
OF VIROLOGY, AND CHINESE        )
ACADEMY OF SCIENCES,            )
                                )
      Defendants.               )

   MEMORANDUM IN SUPPORT OF MOTION OF LAWYERS FOR UPHOLDING
    INTERNATIONAL LAW FOR LEAVE TO FILE AMICUS CURIAE BRIEF IN
     OPPOSITION TO PLAINTIFF THE STATE OF MISSOURI’S COMPLAINT
     AGAINST DEFENDANTS THE PEOPLE’S REPUBLIC OF CHINA, ET AL.

       The Lawyers for Upholding International Law (hereinafter “Proposed Amici”) respectfully

seek leave from this Court to file their amicus curiae brief.

       Plaintiff The State of Missouri’s Complaint against The People’s Republic of China, et al.,

for damages allegedly arising out of the COVID-19 pandemic is a novel claim and triggers

international law. Proposed Amici are experts and practitioners in international law as well as

Chinese policy and practice and, as such, have a particular interest in this litigation given the



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potential ramifications on international law. Proposed Amici offer their specialized knowledge and

technical expertise to the Court through the proposed amicus curiae brief, and provide an analysis

for why this Court can and should dismiss Plaintiff’s Complaint sua sponte.

       Thus, Proposed Amici respectfully request leave to file the accompanying proposed amicus

curiae brief in opposition to Plaintiff The State of Missouri’s Complaint.

                                          ARGUMENT

1.     THE DISCRETION OF THE COURT TO ALLOW THE AMICUS CURIAE
       BRIEF

       This Court has broad inherent authority to permit or deny an appearance as amicus curiae.

See, e.g., United Fire & Cas. Co. v. Titan Contractors Service, Inc., 2012 WL 3065517 at *6 (E.D.

Mo. July 27, 2012). “The amicus privilege ‘rests in the discretion of the court which may grant or

refuse leave according[ly] as it deems the proffered information timely, useful, or otherwise.” Id.

(citing Mausolf v. Babbitt, 158 F.R.D. 143, 148-49 (D.Minn. 1994)). “No statute, rule, or

controlling case defines a federal district court’s power to grant or deny leave to file an amicus

brief.” COR Clearing, LLC v. Callssio Resources Group, Inc., 2015 WL 6604010 at *1 (D. Neb.

Oct. 29, 2015).

       In determining whether to allow an amicus curiae to participate, district courts must keep

in mind its role in resolving factual issues. Id. at *2. Thus, “[a]n amicus who argues facts should

rarely be welcomed.” Id. Factors district courts can consider when considering whether to admit

or deny the presence of an amicus curiae include: (1) “whether the information offered through

the amicus brief is ‘timely and useful’”; and (2) “whether the [entity] seeking to file the amicus

brief is an advocate for one of the parties.” Id. However, district courts throughout the country are

split as to the extent they are willing to permit the participation of an amicus who acts primarily




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as an advocate for one party. Id. (citing Sierra Club v. Fed. Emergency Mgmt. Agency, et al., 2007

WL 3472851 at *2-3 (S.D. Tex. Nov. 14, 2007)).

2.     INTEREST OF PROPOSED AMICI

       Proposed Amici are comprised of Professor Geert-Jan Alexander Knoops and Professor

Tom Zwart.

       A.      Professor Geert-Jan Alexander Knoops

       Professor Knoops is a professor of Politics of International Law at the University of

Amsterdam, a visiting professor of international criminal law at Shandong University in Jinan,

China, and a research fellow at the Institute of International Law of Wuhan University. He also

practices international law as an attorney at the firm Knoops’ International Lawyers in Amsterdam

and has appeared as counsel before several international courts including the European Court of

Human Rights (ECHR) in Strasbourg, the International Criminal Tribunal for Rwanda (ICTR), the

International Criminal Tribunal for the former Yugoslavia (ICTY), the Special Court for Sierra

Leone (SCSL) and the International Criminal Court (ICC).

       Professor Knoops has also appeared as or been appointed to be lead counsel in several

cases of international import, including the cases of the Prosecutor v. Charles Blé Goudé and

Patrice-Edouard Ngaïssona at the ICC, the cases of Prosecutor v. Musabyimana and Prosecutor

v. Bagaragaza in the ICTR, the case of Prosecutor v. Kanu in the SCSL, and the case of Prosecutor

v. Jovica Stanisic in the ICTY. Additionally, Professor Knoops has authored multiple academic

books on the topic of international law.

       B.      Professor Tom Zwart

       Professor Zwart is a professor of law at the International and European Law Department

of Utrect University’s School of Law. He also serves as the Director of the Cross-cultural Human



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Rights Centre of the Free University of Amsterdam. He is an expert on comparative law, especially

the legal systems of the U.S., China and Islam, including their approaches to international law. He

also specializes in human rights law and runs the only project on human rights in China in which

Chinese and international scholars cooperate.

       Professor Zwart has widely visited at universities in the United States and China, including

Washington University in St. Louis. From 2004 to 2013 he served as the Director of the summer

abroad program on international law of the law schools of Washington University and Case

Western Reserve University. He serves as a Distinguished International Scholar at the International

Law Think Tank of Wuhan University and as a Senior Academic Advisor to the Human Rights

Centre of Central South University in Changsha, China. Additionally, he is the Laureate of the

2020 Li Buyung Law Prize, which is awarded by the Chinese legal profession to a person who has

made an eminent contribution to Chinese legal studies and legal education.

3.     THE MATTERS ASSERTED IN THE AMICI BRIEF ARE TIMELY, USEFUL
       AND RELEVANT TO THE DISPOSITION OF THIS CASE

       Due to the novel nature of this case,1 the Proposed Amici are in a unique position to provide

this Court with specialized knowledge into the significant procedural oversights and deficiencies

of Plaintiff State of Missouri’s Complaint. The proposed amicus brief does not argue specific

factual issues, but instead focuses on the various laws and legal doctrines, which shall illustrate

for the Court the ways that Plaintiff’s Complaint conflicts with well-set legal precedent. Movants




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 Per the Missouri Attorney General’s website, this lawsuit by the State of Missouri against The
People’s Republic of China, et al. was “a historical move.” See
https://ago.mo.gov/home/news/2020/04/21/missouri-attorney-general-schmitt-files-lawsuit-
against-chinese-government (last accessed July 10, 2020). To the best of Proposed Amici’s
knowledge, Missouri was the first state to file such a lawsuit. Furthermore, Proposed Amici are
unaware of any precedent whereby an individual State has brought suit against a foreign nation
or that foreign nation’s institutions due to an outbreak of a virus, such as COVID-19.
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hope that with this legal analysis, the Court will order sua sponte the dismissal of Plaintiff’s

Complaint.

       This Court has the power to dismiss Plaintiff’s Complaint sua sponte for failure to state a

claim under Federal Rule of Civil Procedure 12(b)(6). Martin-Trigona v. Stewart, 691 F.2d 856,

858 (8th Cir. 1982). Furthermore, a sua sponte dismissal may even precede service of process in

the interest of judicial economy and fair treatment of litigants. Slangal v. Getzin, 148 F.R.D. 691,

695-699 (D. Neb. 1993) (citing Wabasha v. Smith, 956 F.2d 745 (8th Cir. 1992)); see also The

Church of Jesus Christ Christian/Aryan Nations of Missouri, et al. v. Obama, 2011 WL 4916569

at *1, FN 1 (W.D. Mo. Oct, 17, 2011). As explained by the court in Slangal:

       The reason, I suspect, that sua sponte rulings are permitted in the above (and, no doubt,
       other) situations, is that the court must have the power and authority to effectively manage
       its business as to provide “the just, speedy, and inexpensive determination of every action.”
       FED. R. CIV. P. 1. As has been said on numerous occasions, the time spent by court
       personnel and judges on the administration and resolutions of meritless cases detracts from
       and reduces the attention available to give to serious legal disputes. […] When meritless
       claims absorb the court's limited resources unnecessarily, the interests of justice are
       disserved. That disservice is equally costly in both kinds of “meritless” cases: those that
       are frivolous as well as those which fail to state a claim. The court's power to screen out
       meritless claims should be equally effective in both situations, so long as litigants'
       substantive rights are protected.

Slangal, 148 F.R.D. at 698-699.

       As will be discussed in further detail in the amicus curiae brief, Plaintiff’s Complaint lacks

merit for several reasons, including Plaintiff’s lack of standing and the lack of the Court’s

jurisdiction over Defendants. See, e.g., A.R.Y.L.L.R. v. Liang, 2007 WL 4531505 (D. Minn. Dec.

19, 2007) (ordering sua sponte dismissal of a plaintiffs’ wrongful death claim against Chinese

citizens for failure to show facts that would allow the United States District Court for the District

of Minnesota to exercise personal jurisdiction over defendants). Thus, this amicus brief is timely




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in that it seeks the dismissal of Plaintiff’s deficient Complaint early on in the litigation before the

Court goes into the substance of the case.

                                          CONCLUSION

         Given their expertise, Proposed Amici will be able to assist the Court by exhibiting why

such an action as Plaintiff’s is incongruous with the known standards of international legal disputes

and warrants dismissal by this Court sua sponte.

         Thus, for the foregoing reasons, the Lawyers for Upholding International Law respectfully

request that this Court grant their Motion for Leave to File Amicus Curiae Brief in Opposition to

Plaintiff The State of Missouri’s Complaint against Defendants The People’s Republic of China,

et al, and for such other orders as this Court may find just and equitable.



Dated:          September 25, 2020



                                                       Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I certify that on this day, I filed the foregoing Memorandum in Support of Motion for
Leave to File the Amicus Curiae Brief of Group of Experts in International Law in
Opposition to Plaintiff The State of Missouri’s Complaint against Defendants The People’s
Republic of China, et al. with the clerk’s office via the CM/ECF system, which will send
notification of filing to the following counsel of record:

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